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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                      Case No. 21-CR-268 (1) (SRN/LIB)
                        Plaintiff,

        v.                                          FINAL ORDER OF FORFEITURE

 ALEXIA GAH GI GAY MARY
 CUTBANK (1),

                        Defendant.

       WHEREAS, on October 18, 2022, this Court entered a Preliminary Order of

Forfeiture (Docket No. 202) forfeiting three rounds of 9mm Luger ammunition (“the

Property”) to the United States pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c);

       WHEREAS, the publication requirement contained in Supp. R. Civ. P.

G(4)(a)(i)(A), which is incorporated by Fed. R. Crim. P. 32.2(b)(6)(C), does not require

the United States to publish notice of the forfeiture of the Property because the it is worth

less than $1,000; and

       WHEREAS, no petitions have been filed with the Clerk of Court and the time for

filing a petition has expired.

NOW, THEREFORE, IT IS HEREBY ORDERED that:

       1.     The United States’ Motion for Final Order of Forfeiture (Docket No. 266) is

GRANTED;

       2.     All right, title and interest the Property is hereby forfeited to and vested in

the United States of America pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c);

and
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      3.    The United States shall dispose of the property in accordance with law.

      LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: Monday, July 31, 2023           s/ Susan Richard Nelson
                                       SUSAN RICHARD NELSON
                                       United States District Judge




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